                  Case 2:18-mj-00251 Document 1 Filed 05/18/18 Page 1 of 1 PageID# 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT                                            FILED
                                                               for the
                                                    Eastern District of Virginia                                    i 8 "48
                 United States of America                        )
                              V.

                                                                 )       Case No. 2:18mj
            DASHAWN WEBSTER
                            Defendant

                                                    CRIMINAL COMPLAINT


        I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
             On or about the date(s) ofNovember 2016. in the city of Portsmouth, in the Eastern District of Virginia and
        elsewhere, the defendant violated:

        Code Section(s)                                         Offense Description(s)
Count One:
18 U.S.C.§ 2251(a)          Whoever employs, uses, persuades, induces, entices, or coerces, or attempts to do so, any minor to
                            engage in... any sexually explicit conduct for the purpose of producing any visual depiction of such
                            conduct.. .shall be punished... if such person knows or has reason to know that such visual
                            depiction will be transported or transmitted using any means or facility of interstate or foreign
                            commerce or in or affecting interstate or foreign commerce or mailed, if that visual depiction was
                            produced or transmitted using materials that have been mailed, shipped, or transported in or
                            affecting interstate or foreign commerce by any means, including by computer, or if such visual
                            depiction has actually been transported or transmitted using any means or facility of interstate or
                            foreign commerce or in or affecting interstate or foreign commerce or mailed.

Count Two:
18 U.S.C. § 2252(a)(2)      Whoever knowingly distributes, any visual depiction using any means or facility of interstate or
                            foreign commerce or that has been mailed, or has been shipped or transported in or affecting
                            interstate or foreign commerce, or which contains materials which have been mailed or so
                            shipped or transported, by any means including by computer, or knowingly reproduces any visual
                            depiction for distribution using any means or facility of interstate or foreign commerce or in or
                            affecting interstate or foreign commerce or through the mails, if the producing of such visual
                            depiction involves the use of a minor engaging in sexually explicit conduct; and such visual
                            depiction is of such conduct, shall be punished.
This criminal complaint is based on these facts: Please see attached Affidavit.
READ AND REVIEWED:



Elizabetr
Assistant United States Attorney

         ^ Continued on the attached sheet.
                                                                                         Complainant's signature
                                                                         Paul Wolpert, HSI Special Agent
                                                                                      Printe   name and title

Sworn to before me and signed in my presence.


Date:                I                                                                Judge's signature
                                                                         Douglas E. Miller
                                                                         United States Magistrate Judge
City and state                                                                        Printed name and title
